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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA _ : Case No: 21-CR-314

40 U.S.C. § 5104(e)(2)(G)
SHAWN BRADLEY WITZEMANN :

Defendant.
STATEMENT OF OFFENSE

Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, and the defendant, Shawn Bradley
Witzemann (“WITZEMANN”), with the concurrence of his attorney, agree and stipulate to the below
factual basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties
stipulate that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1, The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.
3. On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

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Senate were meeting in separate chambers of the United States Capitol to certify the vote count
of the Electoral College of the 2020 Presidential Election, which had taken place on November
3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

5. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings still underway and the exterior doors
and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd

encouraged and assisted those acts.

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7, Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
pm after the building had been secured. Vice President Pence remained in the United States
Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

Shawn Bradley Witzemann’s Role in the January 6, 2021, Capitol Riot

8. On the morning of January 6, 2021, WITZEMANN attended the rally for
President Trump in Washington, D.C. At approximately 1:00 p.m., he walked with the crowd of
protestors to the U.S. Capitol.

9. When he got to the U.S. Capitol, he walked up the stairs to the front of the Capitol

Building. At approximately 2:19 p.m., WITZEMANN entered the Capitol Building through the

Senate Wing Door.
10. At approximately 2:28 p.m., WITZEMANN and other rioters approached a

Capitol Police Officer positioned in a hallway. WITZEMANN stated to the officer, “Brother,

stand with us.”
11. At approximately 2:35 p.m., WITZEMANN walked with other rioters through the

Crypt.

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12. Between approximately 2:39 p.m. and 3:26 p.m., WITZEMANN walked through
the Rotunda and Statutory Hall, using his cell phone to record video of the riot. The videos he
recorded were posted to his Instagram account as well as the Facebook account of The Armenian
Council for Truth in Journalism.

13. WITZEMANN exited the Capitol Building through the Memorial Doors at
approximately 3:28 p.m.

14. WITZEMANN willfully and knowingly entered the U.S. Capitol Building
knowing that that he did not have permission to do so. WITZEMANN further admits that while
inside the Capitol, he willfully and knowingly paraded, demonstrated, or picketed.

Respectfully submitted,

MATTHEW M. GRAVES
United States Attorney
D.C. Bar No. 481052

CHRISTOPHER D. AMORE
Assistant United States Attorney

 

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DEFENDANT’S ACKNOWLEDGMENT

I, Shawn Bradley Witzemann, have read this Statement of the Offense and have discussed
it with my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by
my signature that this Statement of the Offense is true and accurate. | do this voluntarily and of
my own free will. No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.

Date. 5/5 SZC Zz

Shawn Bradley Witzemann
Defendant

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.

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Guy L#Womack, Esq.
Attorney for Defendant

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